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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR08-244-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   COLIN HUGH MARTIN,                   )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Possess with the Intent to Distribute Controlled

15 Substances

16 Date of Detention Hearing:     January 17, 2018.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense, the maximum penalty of which



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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

02 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

03         2.      Defendant was not interviewed by Pretrial services so much of his background

04 information is unknown or unverified. He is a native and citizen of Canada. Information

05 indicates that the defendant has a criminal record in Canada relating to a marijuana smuggling

06 operation. Defendant has been fighting extradition from Canada for the instant charges since

07 they were filed in 2009. All other defendants have been sentenced.

08         3.      Taken as a whole, the record does not effectively rebut the presumption that no

09 condition or combination of conditions will reasonably assure the appearance of the defendant

10 as required and the safety of the community.

11 It is therefore ORDERED:

12      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

13         General for confinement in a correction facility separate, to the extent practicable, from

14         persons awaiting or serving sentences or being held in custody pending appeal;

15      2. Defendant shall be afforded reasonable opportunity for private consultation with

16         counsel;

17      3. On order of the United States or on request of an attorney for the Government, the person

18         in charge of the corrections facility in which defendant is confined shall deliver the

19         defendant to a United States Marshal for the purpose of an appearance in connection

20         with a court proceeding; and

21      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

22         for the defendant, to the United States Marshal, and to the United State Pretrial Services



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01       Officer.

02       DATED this 17th day of January, 2018.

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04                                               A
                                                 Mary Alice Theiler
05                                               United States Magistrate Judge

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